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10 UNITED STATES OF AM ERICA                )
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                       Plaintifll           )       2:08-cr-00283-RCJ-RJJ
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12              VS.                         )
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13 REGINALD DUNLAP,                         )
                                            )
14               Defendant.                 )         ORDER
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16              ITIS HEREBY O RDERED thatattorneycherylA.Field-lwangisappointedascounscl
17 forReginald Dunlap irlplace ofDanielAlbregtsforallfuture proceeding.
1g              M r.Albregtsshallforwr
                                     ard the fle to M s.Field-tang forthw ith.
19       DATED this 15* day ofJuly,2010.

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21                                                 VobertC.Jone.
                                                   U nited States i rictJudge
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